




















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1752-13






JUAN CARLOS RAMIREZ, Appellant



v.



THE STATE OF TEXAS






ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


HARRIS COUNTY






	Per curiam.


O P I N I O N 




	Appellant was convicted of theft and sentenced to 20 years in prison.  On appeal, he
argued that the evidence was insufficient to support the $345 in court costs assessed against
him in the judgment.   The Court of Appeals agreed, relying on its own opinion in Johnson
v. State, 389 S.W.3d 513 (Tex. App. - Houston [14th Dist.] 2012).  Ramirez v. State, No. 14-12-01103-CR, 2013 Tex. App. LEXIS 13999 (Tex. App. - Houston [14th Dist.] November
14, 2013) (not designated for publication).

	The State has filed a petition for discretionary review of this decision.  We recently
handed down our opinion in Johnson v. State, No. PD-0193-13, 2014 Tex. Crim. App.
LEXIS 240 (Tex. Crim. App. February 26, 2014), in which we set forth a roadmap for
resolving questions regarding court costs.  See also Cardenas v. State, No. PD-0733-13, 2014
Tex. Crim. App. LEXIS 236 (Tex. Crim. App. February 26, 2014).

	The Court of Appeals in the instant case did not have the benefit of our opinion in Johnson. 
Accordingly, we grant the State's petition for discretionary review, vacate the judgment of the Court
of Appeals, and remand this case to the Court of Appeals in light of our opinion in Johnson.  No
motion for rehearing will be entertained.

Delivered: April 16, 2014

Do Not Publish


